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8                                 UNITED STATES DISTRICT COURT
9                            CENTRAL DISTRICT OF CALIFORNIA
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11    3G PRODUCTIONS, INC., a Nevada              Case No. 2:20-cv-01379-FMO-JEM
      corporation,
12                                                ORDER ON STIPULATION AND
                     Plaintiff,                   JOINT REQUEST TO BRIEFLY
13                                                CONTINUE DEFENDANT’S
            v.                                    DEADLINE TO FILE A MOTION
14                                                PURSUANT TO FED. R. CIV. P. 60
      BEAUTYCON MEDIA, INC., a Delaware           [45]
15    corporation,
16                   Defendant.
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18                                                Date Action Filed: February 11, 2020
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                                            ORDER
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